Case 3:14-cv-01582-VAB Document3 Filed 10/24/14 Page 1 of 9

IN THE UNITED STATES OF DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT |) 2

Syed K. Rafi, PhD.
Plaintiff
Vv.
Yale University School of Medicine (YSM) & Case No. 3:/YCV- A562 VAB
YSM- Genetics Department Chairman, Dr. Richard P. Lifton

Defendants

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MOTION FOR APPOINTMENT OF COUNSEL
AND DECLARATION OF GOOD FAITH EFFORTS TO OBTAIN COUNSEL

|, Syed K. Rafi, request the court to appoint counsel, i.e. an attorney to represent
me in this case since currently | totally lack the financial ability to pay an attorney, as
has been evidenced in my accompanying notarized application to proceed in District
Court without prepaying fees or costs.

| have made a diligent effort under the circumstances to obtain an attorney to
represent me, by contacting more than a couple of dozen law firms and their attorneys

who specialize in employment law, as indicated below:
Case 3:14-cv-01582-VAB Document3 Filed 10/24/14 Page 2 of 9

Partial list of the attorneys and their email addresses, and additional law
firms that | have contacted are as follows.
Pursuant to 28 U.S.C. § 1746, | declare under penalty of perjury that the

following email documentations are true and correct.

Respectfully submitted.

. /
&. ped fat Jo fiel

Signature of Plaintiff Date

Contacts via emails and phone:

 

Me
To:

BCC

vikas @dharlawllp.com vikas @ dharlawllp.com

john @reganlanemessinger.com john @reganlanemessinger.com
dhanrahan @gilmac.com dhanrahan @ gilmac.com cpk@kazarianlaw.com
cpk@kazarianlaw.com para @tswartzlaw.com para @tswartzlaw.com
bjm @macwein.com bjm@macwein.com mail@mrwemploymentlaw.com
mail @mrwemploymentlaw.com paul.merry @fairworkplace.net
paul.merry @fairworkplace.net tkaplan@davismalm.com
tkaplan@davismalm.com gfeldman@davismalm.com

gfeldman @davismalm.com mjf@fogelmanlawfirm.com
mjf@fogelmanlawfirm.com mroberts @massfirm.com

mroberts @ massfirm.com dbrody @sulmanlaw.com dbrody @sulmanlaw.com
jmclaughlin@bmklegal.com jmclaughlin@ bmklegal.com Me

Oct 7 at 10:21 PM
Case 3:14-cv-01582-VAB Document3 Filed 10/24/14 Page 3 of 9

Dear Sir/ Madam,

Wit reference to my previous emails, please let me know your
response at your earliest convenience.

Thank you for your consideration.
Regards.

Syed K. Rafi

 

Me

To

Jacki N Ryan

kjcook @kjclawfirm.com

Oct 7 at 9:29 PM

Hi Jacki,

Please forward this attached document to attorney Ms. Cathy J. Cook for her
perusal and response. You have previously forwarded my other emails
containing several attachments, and hopefully she will find time to respond
soon,

Please confirm the receipt and forwarding of this email.

Regards.

Syed K. Rafi, PhD.

Attchment: Pointers to Attorney.

 
Case 3:14-cv-01582-VAB Document3 Filed 10/24/14 Page 4 of 9

Me
To
josephzoppo @comcast.net

Oct 7 at 9:02 PM
Dear Attorney, Mr. Peres,

I have compiled some directly relevant and founding evidence/information
for my case in the attached document.

Thanks for your consideration and hope to hear from you soon.
Regards.
Syed K. Rafi

See Attachment

josephzoppo@comcast.net

 

Charles Kazarian
To
Me

Oct 7 at 11:53 PM
We decline to represent you.

 

To

Me

Oct 10 at 11:51 AM
Rafi:

I've received your documents, and will forward them to Attorney Cook as
soon as possible.

Thank you,

Michael Golner

 
Case 3:14-cv-01582-VAB Document3 Filed 10/24/14 Page 5 of 9

Me
To

Isaacperes @comcast.net
Oct 10 at 11:44 AM

Dear Attorney, Mr. Peres,

Please find attached herewith the two latest documents that could
not be delivered during my last attempt a couple of days ago.

Hope to hear from you via email, and then I could call you...

Thanks.
Syed Rafi

 

   
 
 
    

Massachusetts Bar Association

AWYERREFERRAL
SERVICE

Let us connect you.

Hello,

The Lawyer Referral Service (LRS) is a public service of the Massachusetts Bar Association.
In order to maintain and improve our referral service we would appreciate if you would please
take 2-3 minutes to tell us your experience with the attorney we referred to you.

Click on the link below to start your survey, (You can also copy and paste the link into your
Internet browser.)
Case 3:14-cv-01582-VAB Document3 Filed 10/24/14 Page 6 of 9

Click here to open the survey.

lf you were dissatisfied with our service, have a dispute with the attorney, or a complaint
against the attorney, we urge that you contact us for assistance.

Thank you for using our referral service.

 

   
  
    

Massachusetts Bar Association

AWYERREFERRAL
SERVICE

Let us connect you.

Dear Syed Rafi

This email is to let you know that the attorney assigned below has received a
copy of your contact and case information.

You should contact the attorney at your earliest convenience to schedule an
appointment. Please contact us right away should you have any questions or
need assistance.

Attorney Information:

Joseph Zoppo

Peres, Zoppo & Associates, PLLC
One International Place, Suite 1400
Boston, MA 02110

617-535-7533

 
Case 3:14-cv-01582-VAB Document3 Filed 10/24/14 Page 7 of 9

Dear Dr Rafi:

As discussed, I will foward both emails and all attachments to Attorney
Cook.

Regards,

Jacki Ryan
wrote:

Dear Ms. Ryan,

Please forward this email as well along with the attachments to attorney Ms.
Cook.

Thanks.

Syed K. Rafi, PhD.

Begin forwarded message:

From: Syed Rafi <rafigene@yahoo.com>

Date: September 22, 2014, 11:08:35 PM CDT

To: "kjcook@kjclawfirm.com" <kjcook@kjclawfirm.com>

Subject: Fw: Seeking your representation and advise... Email # 1
Reply-To: Syed Rafi <rafigene@yahoo.com>

Dear Attorney, Ms. Cook,

With reference to our earlier communications regarding my intended cases against Harvard Medical School
and Yale School of Medicine, I wish to inform you that consequent to my EEOC complaints, the EEOC has now
issued me right-to-sue notifications for each of my charges (please see the attachments herewith).

With reference to the recent clarification of the Third Circuit about the application of the Continuing Violation
Doctrine in Mandel v. M & Q Packaging Corp., No. 11-3913, 2013 WL 141890 (3d Cir. Jan. 14, 2013), as defined by the
U.S. Supreme Court in National Railroad Passenger Corp, v. Morgan, 536 U.S. 101 (2002), I am alleging that these
institutions have been continuously retaliating against my numerous job applications ever since I left Vale
after completing my professional clinical cytogenetics training, in order to facilitate the return of Dr. Barbara
Pober back to Yale School of Medicine (please see the attached documents in this email (#1) and the
following email (#2) for details of my allegations and the circumstance).

I am requesting your representation and advise in pursuing this matter.

Please let me know your response at your earliest convenience.
Case 3:14-cv-01582-VAB Document3 Filed 10/24/14 Page 8 of 9

Regards.

Syed K Rafi, PhD.

 

To

Me

Sandak, Lawrence R. O'Keefe, Joseph C. Saperstein, Daniel L.
Sep 23

Dr. Rafi — thank you for your email. Our firm only represents management in employment law
matters so we cannot provide you with representation or advice related to your lawsuits.

Sincerely,

John P. Barry
Member of the Firm

Proskauer

One Newark Center
Newark, NJ 07102-5211
d 973.274.6081

f 973.274.3299

ibarry @ proskauer.com

To
Me
Jun 23

Hi Dr. Rafi,

As we discussed, Kathy Jo Cook is unfortunately not able to represent you at this time. I just
wanted to re-forward the text letter to you that we originally sent in .pdf format. It was a
pleasure talking to you, although I’m sorry about the circumstances. If you have any questions,
please do not hesitate to call, and again — we wish you the best of luck going forward.

Best,

Jaimeson
Case 3:14-cv-01582-VAB Document3 Filed 10/24/14 Page 9 of 9

Dear Dr. Rafi:

It was a pleasure speaking with you regarding your employment matter. After reviewing your
matter, this letter shall confirm that we will not undertake your representation with regard to your
potential employment claims. I am sorry that we cannot be of assistance to you.

As you know, there are various legal deadlines and requirements related to your matter. The
time frame for bringing claims of employment discrimination, for example, is 300 days from the
date of adverse action. And, the deadlines for filing numerous other employment related claims

   

in state court generally range from one to three years, You should be aware that failure to
respond to such deadlines could detrimentally affect your rights. Accordingly, Lurge you to
again seek the advice of counsel as soon as possible if you are interested in pursuing this matter
further,

 
   

   
 

Please keep in mind that our decision not to handle your case is a business decision, and it does
not mean that you do not have a case. Lawyers have different ways of evaluating these matters
and I encourage you to obtain a second opinion.

If you have any questions or concerns or I can help you in any way in the future, please do not
hesitate to call me. Our firm handles a variety of matters, including personal injury, medical
negligence, motor vehicle crashes, contract disputes and consumer protection matters.

We wish you the best of luck.

Sincerely,

KJC Law Firm, LLC

Kathy Jo Cook

Jaimeson E. Porter, Esq.
617.720.8447 p

857.233.5336 f

jporter@K|CLawFirm.com
